Cost sheet shows for Average of 12 workers for 8 weeks
Descripition Safety Monitor
Safety Monitor Labor
1926.502(h)
"Safety monitoring systems." Safety monitoring systems [See 1926.501(b)(10) and
1926.502(k)] and their use shall comply with the following
provisions:
1926.502(h)(1)
The employer shall designate a competent person to monitor the safety of other employees
and the employer shall ensure that the safety monitor complies with the following
1926.502(h)(1)(i)
The safety monitor shall be competent to recognize fall hazards;
1926.502(h)(1)(ii)
The safety monitor shall warn the employee when it appears that the employee is unaware
of a fall hazard or is acting in an unsafe manner;
1926.502(h)(1)(iii)
The safety monitor shall be on the same walking/working surface and within visual sighting
distance of the employee being monitored;
1926.502(h)(1)(iv)
The safety monitor shall be close enough to communicate orally with the employee; and
1926.502(h)(1)(v)
The safety monitor shall not have other responsibilities which could take the monitor's
attention from the monitoring function
1926.502(h)(4)
Each employee working in a controlled access zone shall be directed to comply promptly
with fall hazard warnings from safety monitors
Descripition Record Keeping
Clerk of the Werks - Safety Documentation
(Article I, Subarticle III, Section 302)
OSHA Form 300: Are occupational deaths, injuries and illnesses recorded and reported as
required?


(Article I, Subarticle III, Section 305)
OSHA Form 300A: Is the annual summary portion of the OSHA 300 completed by February 1?
Is the summary posted from February 1 through April 30?


(Article I, Subarticle III, Section 304)
OSHA Form 301 or other records with same information as OSHA Form 301: Is a
supplementary individual record of each occupational injury and illness completed within 7
calendar days after a case occurs? (Article I, Subarticle III, Section 304)
(Article I, Subarticle V, Section 502A)
Is the S.C. Department of Labor, Licensing and Regulation (LLR) poster SCLD-5-SH “Safety
and Health Protection on the Job” posted in a conspicuous place?


(Article I, Subarticle III, Section 308)
Is SC OSHA notified within eight hours of any employment fatality or accident which results
in in-patient hospitalization of three or more employees?
Descripition Training
Safety Training Program Project Start
1926.503(a)(1)
The employer shall provide a training program for each employee who might be
exposed to fall hazards. The program shall enable each employee to recognize the
hazards of falling and shall train each employee in the procedures to be followed in
order to minimize these hazards.

1926.503(b)(1)
The employer shall verify compliance with paragraph (a) of this section by
preparing a written certification record. The written certification record shall
contain the name or other identity of the employee trained, the date(s) of the
training, and the signature of the person who conducted the training or the
signature of the employer. If the employer relies on training conducted by another
employer or completed prior to the effective date of this section, the certification
record shall indicate the date the employer determined the prior training was
adequate rather than the date of actual training
Descripition Sanitation
Sanitation - Portable Toliet / Hand Wash Station
OSHA 1926.51
Potable (drinking) water and adequate toilet facilities must be provided to all
employees while on jobsite 2 each x 90 days

Description Hazcom/ GHS Occupational Health
1926.62(a) Hazardous Material Remediation (Lead)
Lead: Are employers who engage in construction work occupationally exposed to


Typical/common operations which involve potential employee exposure to Lead:
Application of coating materials (paints, primers) to surfaces, particularly spray
application


Removal of lead containing coatings (surface preparation operations which
involve, abrasive blasting, scraping, grinding, heat gunning etc.)
Lead burning Welding, brazing, torch cutting, torch burning, and soldering on or
with materials containing lead, Rivet busting, Demolition of structures where lead
containing paint, mortars, or other materials containing lead
(Note) To determine whether or not there is a lead exposure hazard, the following
resources should be consulted: (1) SDS sheets of materials used (paint, welding
materials, etc.), (2) Visual observations of presence of suspect materials (paints
used for corrosion resistance, red, yellow, or orange paints), (3) Environmental
survey reports. Bulk samples of suspect materials should be tested to determine if
material contains significant amounts of lead.
1926.62(c)(1)


Permissible exposure limit (PEL): Are employers exposed to lead at concentrations
greater than 50ug/m3 averaged over an 8-hour period?


1926.62(d) Hazardous Material Remediation (Investigation)


Exposure assessment: If the presence of lead is indicated or construction work
involving work listed above is being performed: Has a determination of employee
exposure to lead been performed by utilizing personal air sampling on a
representative number of exposed employees to specific lead related tasks over an
eight hour time weighted average?
 1926.62(d)


If no, the employer must implement interim protective measures as follows:
Provide respiratory protection specified for operation, Provide protective clothing
(coveralls, head covers), Provide hand washing facilities, Provide biological
monitoring (Blood sampling and lead and ZPP analysis), Provide training program
to inform employees of hazards of exposure to lead and and necessary measures
employees must follow to protect themselves.

Hazardous Material Remediation (Employer to Supply)
Employer shall: Provide a medical surveillance program for affected employees.
1926.62(j) Provide training program. 1926.62(l) Is exposure level greater than 50
ug/m3 (PEL)? Then in addition, the employer shall: Develop a written compliance
program. 1926.62(e) Provide appropriate respiratory protection and appropriate
practices governing the use of respirators in accordance with 1926.62(f). Provide
and require the use of hygiene facilities (change rooms, showers and hand washing
facilities). 1926.62(i) Ensure that employees do not eat, drink, smoke, or apply
cosmetics in areas where employees are exposed to lead above the PEL.
1926.62(i)(4) Maintain all surfaces as free as practicable of lead. 1926.62(h)(1)
Ensure that vacuums used to collect lead contaminated dust are equipped with
HEPA filters. 1926.62(h)(4)Ensure that compressed air is not used to remove lead
from surfaces unless used in conjunction with ventilation systems designed to
capture/contain dust generated from process. 1926.62(h)(5)

Description Respiration
1910.134(a)
Permissible practice.
1910.134(a)(1)
In the control of those occupational diseases caused by breathing air contaminated
with harmful dusts, fogs, fumes, mists, gases, smokes, sprays, or vapors, the
primary objective shall be to prevent atmospheric contamination. This shall be
accomplished as far as feasible by accepted engineering control measures (for
example, enclosure or confinement of the operation, general and local ventilation,
and substitution of less toxic materials). When effective engineering controls are
not feasible, or while they are being instituted, appropriate respirators shall be
1910.134(a)(2)
A respirator shall be provided to each employee when such equipment is necessary
to protect the health of such employee. The employer shall provide the respirators
which are applicable and suitable for the purpose intended. The employer shall be
responsible for the establishment and maintenance of a respiratory protection
program, which shall include the requirements outlined in paragraph (c) of this
section. The program shall cover each employee required by this section to use a
1910.134(c)
Respiratory protection program. This paragraph requires the employer to develop
and implement a written respiratory protection program with required worksite-
specific procedures and elements for required respirator use. The program must be
administered by a suitably trained program administrator. In addition, certain
program elements may be required for voluntary use to prevent potential hazards
associated with the use of the respirator. The Small Entity Compliance Guide
contains criteria for the selection of a program administrator and a sample program
that meets the requirements of this paragraph. Copies of the Small Entity
Compliance Guide will be available on or about April 8, 1998 from the Occupational
Safety and Health Administration's Office of Publications, Room N 3101, 200
Constitution Avenue, NW, Washington, DC, 20210 (202-219-4667).
1910.134(c)(1)
In any workplace where respirators are necessary to protect the health of the
employee or whenever respirators are required by the employer, the employer shall
establish and implement a written respiratory protection program with worksite-
specific procedures. The program shall be updated as necessary to reflect those
changes in workplace conditions that affect respirator use. The employer shall
include in the program the following provisions of this section, as applicable:
1910.134(c)(1)(I)
Procedures for selecting respirators for use in the workplace;
1910.134(c)(1)(ii)
Medical evaluations of employees required to use respirators;
1910.134(c)(1)(iii)
Fit testing procedures for tight-fitting respirators;
1910.134(c)(1)(iv)
Procedures for proper use of respirators in routine and reasonably foreseeable
emergency situations;
1910.134(c)(1)(v)
Procedures and schedules for cleaning, disinfecting, storing, inspecting, repairing,
discarding, and otherwise maintaining respirators;
1910.134(c)(1)(vi)
Procedures to ensure adequate air quality, quantity, and flow of breathing air for
atmosphere-supplying respirators;
1910.134(c)(1)(vii)
Training of employees in the respiratory hazards to which they are potentially
exposed during routine and emergency situations;
1910.134(c)(1)(viii)
Training of employees in the proper use of respirators, including putting on and
removing them, any limitations on their use, and their maintenance; and
1910.134(c)(1)(ix)
Procedures for regularly evaluating the effectiveness of the program.
1910.134(c)(2)
Where respirator use is not required:
1910.134(c)(2)(I)
An employer may provide respirators at the request of employees or permit
employees to use their own respirators, if the employer determines that such
respirator use will not in itself create a hazard. If the employer determines that any
voluntary respirator use is permissible, the employer shall provide the respirator
users with the information contained in Appendix D to this section ("Information for
Employees Using Respirators When Not Required Under the Standard"); and
1910.134(c)(2)(ii)
In addition, the employer must establish and implement those elements of a written
respiratory protection program necessary to ensure that any employee using a
respirator voluntarily is medically able to use that respirator, and that the
respirator is cleaned, stored, and maintained so that its use does not present a
health hazard to the user. Exception: Employers are not required to include in a
written respiratory protection program those employees whose only use of
respirators involves the voluntary use of filtering facepieces (dust masks).
1910.134(c)(3)
The employer shall designate a program administrator who is qualified by
appropriate training or experience that is commensurate with the complexity of the
program to administer or oversee the respiratory protection program and conduct
the required evaluations of program effectiveness.
1910.134(c)(4)
The employer shall provide respirators, training, and medical evaluations at no cost
to the employee.
1910.134(d)
Selection of respirators. This paragraph requires the employer to evaluate
respiratory hazard(s) in the workplace, identify relevant workplace and user
factors, and base respirator selection on these factors. The paragraph also
specifies appropriately protective respirators for use in IDLH atmospheres, and
limits the selection and use of air-purifying respirators.
1910.134(d)(1)
General requirements.
1910.134(d)(1)(I)
The employer shall select and provide an appropriate respirator based on the
respiratory hazard(s) to which the worker is exposed and workplace and user
factors that affect respirator performance and reliability.
1910.134(d)(1)(ii)
The employer shall select a NIOSH-certified respirator. The respirator shall be used
in compliance with the conditions of its certification.
1910.134(d)(1)(iii)
The employer shall identify and evaluate the respiratory hazard(s) in the workplace;
this evaluation shall include a reasonable estimate of employee exposures to
respiratory hazard(s) and an identification of the contaminant's chemical state and
physical form. Where the employer cannot identify or reasonably estimate the
employee exposure, the employer shall consider the atmosphere to be IDLH.
1910.134(d)(1)(iv)
The employer shall select respirators from a sufficient number of respirator models
and sizes so that the respirator is acceptable to, and correctly fits, the user.
1910.134(d)(2)
Respirators for IDLH atmospheres.
1910.134(d)(2)(I)
The employer shall provide the following respirators for employee use in IDLH
atmospheres:
1910.134(d)(2)(I)(A)
A full facepiece pressure demand SCBA certified by NIOSH for a minimum service
life of thirty minutes, or
1910.134(d)(2)(I)(B)
A combination full facepiece pressure demand supplied-air respirator (SAR) with
auxiliary self-contained air supply.
1910.134(d)(2)(ii)
Respirators provided only for escape from IDLH atmospheres shall be NIOSH-
certified for escape from the atmosphere in which they will be used.
1910.134(d)(2)(iii)
All oxygen-deficient atmospheres shall be considered IDLH. Exception: If the
employer demonstrates that, under all foreseeable conditions, the oxygen
concentration can be maintained within the ranges specified in Table II of this
section (i.e., for the altitudes set out in the table), then any atmosphere-supplying
1910.134(d)(3)
Respirators for atmospheres that are not IDLH.
1910.134(d)(3)(I)
The employer shall provide a respirator that is adequate to protect the health of the
employee and ensure compliance with all other OSHA statutory and regulatory
requirements, under routine and reasonably foreseeable emergency situations.
Description PPE
N-95 Disposable Masks
OSHA 1926.28(a)
Employees are required to wear personal protective equipment when exposed to
hazardous conditions


Gloves, Leather
OSHA 1926.28(a)
Employees are required to wear personal protective equipment when exposed to
hazardous conditions


Gloves, Nitrile (per 100)
OSHA 1926.28(a)
Employees are required to wear personal protective equipment when exposed to
hazardous conditions


Goggles / Face shield
Calculation of Materials and Labor to Comply to this OSHA Standard
3 cases x 144/case


Ear Plugs, Disposable
OSHA 1926.52, 1926.101
Ear protection devices must be provided and used wherever it is not feasible to
reduce noise levels or where a deviation to exposure levels specified in Table D-2,
permissible noise exposure exists.

Head Protection
OSHA 1926.100
Protective helmets (hard hats) must be worn at all times where there is a possible
danger of head injury from impact, falling, or flying objects, or electrical shocks and
burns.

Tyvek Suit
OSHA 1910.132(a)
Application. Protective equipment, including personal protective equipment for
eyes, face, head, and extremities, protective clothing, respiratory devices, and
protective shields and barriers, shall be provided, used, and maintained in a
sanitary and reliable condition wherever it is necessary by reason of hazards of
processes or environment, chemical hazards, radiological hazards, or mechanical
irritants encountered in a manner capable of causing injury or impairment in the
function of any part of the body through absorption, inhalation or physical contact.
Description Fire
Portable Fire Extinguisher
OSHA 1926.152(g)(11)
At least one portable fire extinguisher with a rating of not less than 2--B:C must be
located within 75 feet of each pump, dispenser, underground fill pipe opening and
lubrication or refueling service area
Description Signs Signals and Barricaides
Job-Site Signage
OSHA 1926.200(a), OSHA 1926.200(g)(2)
Accident prevention signs and tags must be visible at all times when work is being
performed and/or removed or covered promptly when the hazard no longer exists.
Traffic control signs or devised used for workers' protection must conform with
Part IV of the Manual of Uniform Traffic Control Devices (MUTCD) 1988 edition
revision 3 or Part VI of the MUTCD Millennium edition

Signaling - General Laborer - Per Hour
OSHA 1926.2201(a)
The use of flaggers and signaling by flaggers, including warning garments worn by
flaggers, must be in conformance with Part VI of the Part IV of the Manual of
Uniform Traffic Control Devices (MUTCD) 1988 edition, revision 3 or Millennium

Barricades
OSHA 1926.202
Barricades used for protection of workers must be in conformance with Part VI of
the Part IV of the Manual of Uniform Traffic Control Devices (MUTCD) 1988 edition,
revision 3 or Millennium edition

On-Site Safety Personnel - Scaffolding Shift / Training
OSHA 1926. 451(f)(3), OSHA 1926.454(a)
Inspection of all scaffolding for visual defects by a competent person must be
performed prior to each shift and after each occurrence which could affect a
scaffold's structural integrity. All employees who perform work while on a scaffold
must be trained by a qualified person to recognize the hazard associated with the
type of scaffold being used and in the understanding of procedures to control or
minimize those hazards.
Description Electrical
1926.416(a)
Protection of employees -
1926.416(a)(1)
No employer shall permit an employee to work in such proximity to any part of an
electric power circuit that the employee could contact the electric power circuit in
the course of work, unless the employee is protected against electric shock by
deenergizing the circuit and grounding it or by guarding it effectively by insulation
or other means.
1926.416(a)(2)
In work areas where the exact location of underground electric powerlines is
unknown, employees using jack-hammers, bars, or other hand tools which may
contact a line shall be provided with insulated protective gloves.
1926.416(a)(3)
Before work is begun the employer shall ascertain by inquiry or direct observation,
or by instruments, whether any part of an energized electric power circuit, exposed
or concealed, is so located that the performance of the work may bring any person,
tool, or machine into physical or electrical contact with the electric power circuit.
The employer shall post and maintain proper warning signs where such a circuit
exists. The employer shall advise employees of the location of such lines, the
hazards involved, and the protective measures to be taken.
..1926.416(b)
1926.416(b)
Passageways and open spaces -
1926.416(b)(1)
Barriers or other means of guarding shall be provided to ensure that workspace for
electrical equipment will not be used as a passageway during periods when
energized parts of electrical equipment are exposed.
19+C15:C2826.416(b)(2)
Working spaces, walkways, and similar locations shall be kept clear of cords so as
not to create a hazard to employees.
Cords and cables.
1926.416(e)(1)
Worn or frayed electric cords or cables shall not be used.
1926.416(e)(2)
Extension cords shall not be fastened with staples, hung from nails, or suspended
by wire.
1926.417(a)
Controls. Controls that are to be deactivated during the course of work on
energized or deenergized equipment or circuits shall be tagged.
1926.417(b)
Equipment and circuits. Equipment or circuits that are deenergized shall be
rendered inoperative and shall have tags attached at all points where such
equipment or circuits can be energized.
1926.417(c)
Tags. Tags shall be placed to identify plainly the equipment or circuits being
worked on.
Description Demolition
Debris Chute Hopper - per week - 30" x 4' section
OSHA 1926.852(a)
Any area where materials is dropped outside the exterior walls of the structure
must be adequately protected


Debris Chute - per week - 30" x 4' section
16+C15:C28
Any area where materials is dropped outside the exterior walls of the structure
must be adequately protected.


Debris Chute Mounting Hardware - Per Week
OSHA 1926.852(a)
Any area where materials is dropped outside the exterior walls of the structure
must be adequately protected.
Description Scaffolds
Each platform on all working levels of scaffolds shall be fully planked or decked
between the front uprights and the guardrail supports as follows:
1926.451(b)(1)(I)
Each platform unit (e.g., scaffold plank, fabricated plank, fabricated deck, or
fabricated platform) shall be installed so that the space between adjacent units
and the space between the platform and the uprights is no more than 1 inch (2.5
cm) wide, except where the employer can demonstrate that a wider space is
necessary (for example, to fit around uprights when side brackets are used to
 Labor to set up and take down scaffold - per section
Scaffold - Delivery
Scaffold - Demobilization
Scaffolding (Bid Item) - Bakers Scaffold
Description Stairways and Ladders
General Requirements - Ladder Access Points
OSHA 1926. 1051(a)
A ladder or stairway must be provided at all personnel points of access where there
is a break in elevation of 19" or more. Ladders will be fabricated and installed at
all varying roof elevations.
Description Storage
General Requirements for Storage General Laborer
1926.250(a)(1)
All materials which are stored in tiers either stacked, racked, blocked, interlocked,
or otherwise secured to prevent sliding, falling, or collapse.


1926.250(a)(2)
Maximum safe load limits of floors within buildings and structures, in pounds per
square foot, shall be conspicuously posted in all storage areas, except for floor or
slab on grade. Maximum safe loads shall not be exceeded.
Description Fall Protection
Fall Protection - Roof Labor      Daily Rental Charge
1926.501(b)(2)(ii)
Each employee on a walking/working surface 6 feet (1.8 m) or more above a lower
level where leading edges are under construction, but who is not engaged in the
leading edge work, shall be protected from falling by a guardrail system, safety net
system, or personal fall arrest system. If a guardrail system is chosen to provide
the fall protection, and a controlled access zone has already been established for
leading edge work, the control line may be used in lieu of a guardrail along the
edge that parallels the leading edge.

1926.501(b)(2)(I)
Each employee who is constructing a leading edge 6 feet (1.8 m) or more above
lower levels shall be protected from falling by guardrail systems, safety net
systems, or personal fall arrest systems. Exception: When the employer can
demonstrate that it is infeasible or creates a greater hazard to use these systems,
the employer shall develop and implement a fall protection plan which meets the
requirements of paragraph (k) of 1926.502.

Walking Surfaces - General Laborer
1926.501(b)(4)(I)
Each employee on walking/working surfaces shall be protected from falling through
holes (including skylights) more than 6 feet (1.8 m) above lower levels, by personal
fall arrest systems, covers, or guardrail systems erected around such holes.

1926.501(b)10
Roofing work on Low-slope roofs." Except as otherwise provided in paragraph (b) of
this section, each employee engaged in roofing activities on low-slope roofs, with
unprotected sides and edges 6 feet (1.8 m) or more above lower levels shall be
protected from falling by guardrail systems, safety net systems, personal fall arrest
systems, or a combination of warning line system and guardrail system, warning
line system and safety net system, or warning line system and personal fall arrest
system, or warning line system and safety monitoring system. Or, on roofs 50-feet
(15.25 m) or less in width (see Appendix A to subpart M of this part), the use of a
safety monitoring system alone [i.e. without the warning line system] is permitted.
 1926.501(b)(11)
Steep roofs. Each employee on a steep roof with unprotected sides and edges 6
feet (1.8 m) or more above lower levels shall be protected from falling by guardrail
systems with toe boards, safety net systems, or personal fall arrest systems.

1926.501(b)(15)
Walking/working surfaces not otherwise addressed. Except as provided in
1926.500(a)(2) or in 1926.501 (b)(1) through (b)(14), each employee on a
walking/working surface 6 feet (1.8 m) or more above lower levels shall be
protected from falling by a guardrail system, safety net system, or personal fall

Barricade Work Area from falling objects
1926.501(c)(3)
Barricade the area to which objects could fall, prohibit employees from entering
the barricaded area, and keep objects that may fall far enough away from the edge
of a higher level so that those objects would not go over the edge if they were
accidentally displaced.

Personal Fall Protection
1926.502(d)
Personal fall arrest systems. Personal fall arrest systems and their use shall
comply with the provisions set forth below. Effective January 1, 1998, body belts
are not acceptable as part of a personal fall arrest system. Note: The use of a body
belt in a positioning device system is acceptable and is regulated under paragraph
(e) of this section.
Description Motor Vehicles
1926.601(a)
Coverage. Motor vehicles as covered by this part are those vehicles that operate
within an off-highway jobsite, not open to public traffic. The requirements of this
section do not apply to equipment for which rules are prescribed in 1926.602.
1926.601(b)
General requirements.
1926.601(b)(1)
All vehicles shall have a service brake system, an emergency brake system, and a
parking brake system. These systems may use common components, and shall be
maintained in operable condition.
1926.601(b)(14)
All vehicles in use shall be checked at the beginning of each shift to assure that
the following parts, equipment, and accessories are in safe operating condition and
free of apparent damage that could cause failure while in use: service brakes,
including trailer brake connections; parking system (hand brake); emergency
stopping system (brakes); tires; horn; steering mechanism; coupling devices; seat
belts; operating controls; and safety devices. All defects shall be corrected before
the vehicle is placed in service. These requirements also apply to equipment such
as lights, reflectors, windshield wipers, defrosters, fire extinguishers, etc., where
The overhead covering on this canopy structure shall be of not less than 1/8-inch
steel plate or 1/4-inch woven wire mesh with openings no greater than 1 inch, or
1926.604(a)(2)(ii)
The opening in the rear of the canopy structure shall be covered with not less than
1/4-inch woven wire mesh with openings no greater than 1 inch.
5,470. Backhoe loader - Delivery
5,471. Backhoe loader -Demobilization
1926.600(a)(3)(I)
Heavy machinery, equipment, or parts thereof, which are suspended or held aloft by
use of slings, hoists, or jacks shall be substantially blocked or cribbed to prevent
falling or shifting before employees are permitted to work under or between them.
Bulldozer and scraper blades, end-loader buckets, dump bodies, and similar
equipment, shall be either fully lowered or blocked when being repaired or when
not in use. All controls shall be in a neutral position, with the motors stopped and
brakes set, unless work being performed requires otherwise.
 1926.600(a)(3)(ii)
Whenever the equipment is parked, the parking brake shall be set. Equipment
parked on inclines shall have the wheels chocked and the parking brake set.
1926.600(a)(4)
The use, care and charging of all batteries shall conform to the requirements of
Subpart K of this part.
1926.600(a)(5)
All cab glass shall be safety glass, or equivalent, that introduces no visible
distortion affecting the safe operation of any machine covered by this subpart.
5,476. Front end wheel loader -Delivery
5,477. Front end wheel loader -Demobilization
5,478. Dump truck and operator - 10 ton
5,480. Skid steer loader - Delivery 5,481. Skid Steer Jack Hammer 5,482. Scissor
lift - 20' platform height, Boom Lift
5,483. Scissor lift - 20' platform height
5,484. Scissor lift - 20' platform height
5,485. Telehandler/forklift and operator
5,486. Telehandler/forklift - Delivery
5,487. Telehandler/forklift -Demobilization
Description Toxic Hazardous Material
Hazardous Material Remediation
1926.1101
Asbestos: Has a determination been made as to whether or not building contains
Asbestos Containing Materials (ACM = Greater than 1% Asbestos) or Presumed
Asbestos Containing Materials (PACM)? Was the building/structure constructed
prior to 1980? Does it contain materials such as thermal system insulation (TSI),
surfacing materials, floor tile, roofing materials, gaskets, and/or drywall/plaster? Is
the material ACM? [Has a survey been performed to determine if materials in

Once the class of ACM work is determined, a complete copy of 1926.1101 should
obtained and consulted to determine the specific requirements related to the
specific class
of ACM work. Below is a list of general requirements applicable to all classes of
work:
1926.1101(e)
Has a regulated area been established?
1926.1101(f)
Has an exposure assessment/personal air sampling been performed to determine
degree of employee exposure?
1926.1101(e)(6) and (o)
Is a “competent person” who has an appropriate level of training to supervise the
class of ACM work being performed been designated?
1926.1101(h)
Have appropriate respirators and practices been implemented?
1926.1101(I)
Has protective clothing (coveralls, head covers) been provided for employees to
wear?
1926.1101(j)
Are Hygiene facilities and practices appropriate to the class of ACM work and size
of Job (Less than or Greater than 25 linear or 10 square feet)?
1926.1101 (d) and (k)
Are asbestos hazards communicated to affected employees and to other
contractors by means of signs, labeling, and exchange of information concerning
the work being done involving ACM?
1926.1101(k)
Is training appropriate for class of ACM work provided?
1926.1101(m)
Has a medical surveillance program been made available to affected employees?
1926.1101(l)
Have appropriate housekeeping practices such as the use of HEPA filtered
vacuuming equipment to collect ACM dust and placing ACM wastes/debris into
impermeable, labeled, and sealed containers been established?
Description Crane
Crane Work Area
1926.1424(a)(2)(ii)
Erect and maintain control lines, warning lines, railings or similar barriers to mark
the boundaries of the hazard areas. Exception: When the employer can demonstrate
that it is neither feasible to erect such barriers on the ground nor on the equipment,
the hazard areas must be clearly marked by a combination of warning signs (such
as "Danger--Swing/Crush Zone") and high visibility markings on the equipment that
identify the hazard areas. In addition, the employer must train each employee to
understand what these markings signify.
 Crane and operator - 50 ton capacity - Delivery
Crane and operator - 50 ton capacity - Demobilization
 Front end wheel loader and operator
Description
Temporary Fencing
Hepa Vac
Air Scrubber
Dehu
Unit Price   Units       Hours        Weeks       Unit cost       Hour Cost




    $85.00           1           40           8        $680.00      $27,200.00

                     0            0           0               0               0
                                                              0               0
                                                              0               0

                                                              0               0
                                                              0               0
                                                              0               0
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     $0.00           0            0           0               0               0
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  $0.00   0   0   0          0    0
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                             0    0
                             0    0
$150.00   3   0   8   $3,600.00   0
                             0    0


                             0    0
                             0    0
                             0    0
  $0.00   0   0   0          0    0
                             0    0
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$45.00   0   0   0   0   0
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$50.00   0   0   0   0   0
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$42.50   45   0   0   1912.5   0
                          0    0
                          0   0
                          0   0
 $7.20   100            720   0
                          0   0


                          0   0
                          0   0
$45.75    2            91.5   0
                          0   0


                          0   0
                          0   0
$12.50   100           1250   0
                          0   0
                          0   0
                          0   0
$60.00    2             120   0
                          0   0



                          0   0
                          0   0
$16.00   15             240   0
                          0   0



                          0   0
                          0   0
                          0   0
$19.95    0               0   0




                          0   0
                          0   0
$35.00    5    0   0    175   0
                         0            0



                         0            0
                         0            0
 $30.00   20    0   0   600           0
                         0            0




                         0            0
                         0            0
 $35.00    2   40   8   70    $22,400.00
                         0            0



                         0            0
                         0            0
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                         0            0
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                         0            0
$100.00    1   40   2   100    $8,000.00
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$100.00   0   0   0   0   0
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$300.00   2    0   6    600            0
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          0               0            0
 $15.50   0               0            0
          0               0            0


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                          0            0
 $21.25   2        6    42.5           0
                          0            0


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  $0.00   0   0    0      0            0
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 $59.05   0    0   0      0            0
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                          0            0
 $34.34   2   40   8   68.68   $21,977.60
                          0            0
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$25.00   12   0   8   300   0
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 $10.00   0           0   0
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$100.00   0   0       0   0




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$250.00   0       0    0    0
$250.00   2       8   500   0
                       0    0
$350.00   1       8   350   0
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                       0    0
  $0.00   0   0   0    0    0
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$1,500.00   40   0             8        60000            0
                                            0            0




                                            0            0
                                            0            0
                                            0            0
                                            0            0
                                            0            0
   $5.48    40   0             8
  $77.00     0                 0            0            0
  $82.00     0                 0            0            0
 $105.00     0                 0            0            0
                     Total          $71,420.18   $79,577.60
                     G Total       $177,806.38
Weekly Rate




       $0.00
0
3600




 255
14400
   0
4000


2800
        0




 $1,753.60




$26,808.60
Add amount of weeks to get correct cost
Add amount of weeks to get correct cost
Add amount of weeks to get correct cost




Add amount of weeks to get correct cost
Bid Item




Add amount of weeks to get correct cost
Daliy rental Charge
